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United States District Court
For the Northern District of illinois
Municipal Department, First nistric*

 

   

Brian 'F. l\/chridel ) 13@\/4748
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V. ) i\/|ag, Judge Valdez
l\/|ary F. Chapman, Esq. ) Mag
The Law Offices of lVlary F. Chapman )
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Background: 1 CLEF€§K.~ U;S:§; tjii.‘~; fGi£%?~ZT

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P|aintiff was involved in an employment discrimination complaint that was previously before this
court and captioned as l\/chride v. l\/lDea, lnc. et a|. with case number 112013cv00602 before
Judge Darrah.

During the process of the case, the Defendants had filed a SLAPP lawsuit in the case in Nevada
State Court to cajole the Plaintiff to dismiss his action before this Honorable court

For the Nevada SLAPP suit, l\/chride hired the Law Offices of l\/lary F. Chapman with l\/lary F`
Chapman as sole attorney

Settlement discussions were underway in which a financial settlement was to be worked out
between the parties

Then, during negotiations via electronic mail to Defendant’s counse|, Chapman breached her
confidentiality to her client, l\/chride by opining to l\/|Dea’s counse|, Timothy Hudson that
Nchride’s claims in 1:2013cv00602 before Judge Darrah had no merits

This caused Defendants in that case to refuse to settle the case.

But for Chapman’s interference and breach of duty, l\/chride would have prevailed in his case

1 ;2013cv00602.

Plaintiff, as the result of Chapman’s unethical and intentionally negligent actions, Plaintiff McBride
had to accept a settlement with no financial value that left him destitute

Nonetheless, Chapman had the gau| to then send l\/chride invoices for reading electronic mail
and threaten a lawsuit in Nevada for the payment of charges using words like “bring it" in attempt
to provoke a fight.

Jurisdiction and Venue:
Jurisdiction is appropriate at the Federal level because of the diversity ofjurisdiction. The P|aintiff
is a resident of Cook County l||ino s, and the Defendant is a resident of Nevada with a principal
place of business in Nevada. The contract was commenced in illinois and Chapman received
funds from the State of ll|inois for payment.
The claim for damages is more than $75,000 and is based on lV|cBride’s actual damages from the
original case, plus damages for intentional infliction of emotional distress

Ar_qument: _ _
Plaintiff’s former counsel was negligent in her breach of client confidentiality

 

Paragraphs 1-11 are incorporated herein

 

 

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Negligence is the failure to do something which a reasonably careful person would do or the
doing of something which a reasonably careful person would not do under similar circumstances
(Wi|liams v_ Conner 228 lll App 3d 350, 364 (5th district))
a. As an attorney Chapman has a duty to be honest in their representations before this
Court.
b. injuries or damages were sustained by the P|aintiff
c. Chapman’s collective breech of duty was the proximate cause for P|aintiff’s damages and
excess attorney fees
ln the State of lllinois, the ll|inois Rules of Professional Conduct clearly and unequivocally outlines

, the duties of an attorney as an officer of the Court.

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The commission of a fraudulent act, is governed by lRPC Rule 8.4:

d. lRPC 8.4(ai(Si states that a lawyer shall not "commit a criminal act that reflects adversely
on the lawyer's honesty, trustworthiness or fitness as a lawyer."

e. l\/loreover, Witt, 583 N.E.2d 526 (1991) establishes fraud as including anything calculated
to deceive, whether it be a single act of combination of circumstances

f. Yamaguchi (Yamaguchi, 515 N.E.2d 1235, 1239 (ll|. 1987)) further defines fraud as
“whether it be the suppression of truth or the suggestion of what is false,”

g. Armentrout (Armentrout, 457 N.E.2d 1262l 1266 (l|l. 1983)) broadens the definition of
fraud: “whether it be by direct falsehood or by innuendo, by speech or by silence, by word
of mouth or by look or gesture.”

h. The basic elements of fraud and deceit are:

i. a false representation of material fact
ii. the defendant must know of the falsity, but nevertheless makes the statement for
the purpose of inducing the plaintiff to rely on it;
iii. the plaintiff mustjustifiably rely on the statement for the purpose of inducing the
plaintiff to rely on it; and
iv. the plaintiff must have suffered damages as a consequence
ln ||linois, Wo/f v. L/'beris,153 lll.App.Sd 488, 496, 1061||,Dec. 411, 505 N.E.2d 1202 (1987)
establishes the concept for aiding and abetting an act for which the Plaintiff is entitled to legal
redress:

i. The party Whom the defendant aids must perform a wrongful act Which causes an injury;

j. The defendant must be regularly aware of his role as part of the overall or tortious activity
at the time that he provides the assistance;

k, The defendant must knowingly and substantially assist the principal violation

ln Reuben H. Donne//ey Corp. v. Brauer,275 lll.App.3d 300, 211 |ll.Dec. 779, 655 N.E.2d 1162
(1995), ll|inois courts established the precedent that action against attorney or legal practice for
fraud could be considered

ln Brauer, 275 lll. App.3d at 310, 211 lll.Dec. 779, 655 N.E.2d 1162, the court affirmed that a case
for fraud may be brought before the court as a tort, but not for breach of contract, which clearly is
applicable in this action before this Honorable Court.

l\/loreover, Bosak v. McDoriough,192 lll.App.Sd 799, 804-05, 139 l|l.Dec. 917, 549 N,E.2d 643
(1989) and Ce/ano v. Frederick,54 |l|.App.Zd 393. 400, 203 N.E.2d 774 (1964), quoting Wah/gren
v. Bausch & Lomb Optica/ Co.,68 F.2d 660, 664 (7th Cir.1934) held that policies for preventing a
conspiracy should apply to attorneys with regard to committing an act which is civilly or criminally
actionable

ln THORNWOOD, lNC. v. JENNER & BLOCK 799 N.E.2d 756 l||. (2003), the Defendants were
held liable for civil damages for aiding and abetting the defendants scheme to intimidate and
defraud a Plaintiff into dissolving a legal matter.

With regard to jurisdiction, the lRPC and the ll|inois Supreme Court also shows that this
Honorable Court has jurisdiction based on the following factors:

l. ln Magnetek, /nc. v. Kirk/and and E///'s, LLP, lll. App. 3d, N.E.2d, 2011 Wl_ 2622413 (1st
Dist. 2011)l the ll|inois Supreme Court confirmed an appellate court ruling that the State
and County Court systems have jurisdiction over claims for civil damages resulting from
legal malpractice/misconduct

REQUEST FOR REL|EF;

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Based on the foregoing, the Petitioner is entitled to relief and respectfully seeks this Honorable
Court to:
1. Grant judgment in favor of the Plaintiff for the amount of damages he would have won in the
original case
a. Original damages were $450,000 _ v
2. Grant a discretionary award and/or punitive damages for intentional infliction of emotional
distress
3. Grant disgorgement of all legal fees paid to Chapman by l\/chride (approximately $8,000)
a. Terminate an amount Chapman alleges she is owed by l\/chride
4. Any and all legal fees and court costs associated with this action
5. Any other relief the court may deem just and equitable

Respectfu//y submitted

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rian F. McBride

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